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                                                                                 FCI Satellite Camp - Beckley
                                                                                                 P.O. Box350
                                                                                           Beaver, WV 25813

                           I                                                                     July 16, 2018

The Honorable Rhnnie Abrams
United States District Judge
Southern Distric~ of New York
500 Pearl Street           1                                              USDCSDNY
New York, New ✓ork 10007                                                  DOCUMENT
Via: Prose lntakf Unit
                                                                          ELECTRONICALLY FILED
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The Honorable ~abriel W. Gorenstein
United States Magistrate Judge
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United States O*rict Court                                                     .-·------·· · ·----···-==:::.::===:::::.J
Southern District of New York
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500 Pearl Street
                 1
New York, New York 10007
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Via fax: (212) S0f-4268

Re: United State~ v. James Tagliaferri (13tCr-115 (RA)(GWG)
 . James Tagliaferri v. United States (17,·3026 (RA)(GWG)

Dear Judge Abr,ms and Judge Gorensteit=
 1                 l                         :

I ,am the Defen~ant-Petitioner, proceedi~g pro se, in the aforementioned matters. I write respectfully in
response to the/ Government's letter of ~uly 12, 2018 (D.E. 63) in which it requests leave to reply to my
letter of July 5, io18 in order to address Fertain arguments I asserted therein. I have no objection to this
request by the ~overnment. However, a.;Iternatively, the Government respectfully asks the Court to
strike my July 51h letter from the record.) In regard to this request, I strongly object.
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My July 5, 2018 letter, as I respectfully inoted, is consistent with Rule 7, Rules Governing Section 2255
Proceedings. ~ule 7 explicitly allows ~he District Court to "expand the record" to include additional
materials submitted by the parties. lm1:fortantly, as I stated in my Letter of July 5th, Rule 7(c} requires
the Court to affbrd the party against wh~m additional materials are offered an opportunity
to admit orderly their correctness; thusj under the Rules, my replies to the Government's June 25, 2018
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submission arJ "authorized".        As t~e Court is aware, although not previously authorized, the
G.· overnment's anuary 2, 2018 applicatipn to expand the record was granted "in order to complete the
record". My J ly 5th submission strives io produce precisely the same result, but the Government's
duplicitous beh avior seeks to deny me tpe this opportunity.
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further, I refe;r the Court to my Reply Memo (page 76) in which I offer several legal authorities
supportive of ~xpanding the record; tor/example, Price v. Johnston (334 U.S. 266, 291-92 L. Ed. 1356, 68
S. Ct. 1049) ~ "to make certain a man is<; not unjustly imprisoned .. .it is neither necessary, nor reasonable
to deny him alliopportunity of obtainin judicial relief'; Harris v. Nelson (394 U.S. 286, 22 L. Ed.
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281, 89 S. Ct. 1ps2 (1969}) ~ "Where sp~cific allegations before the court show reason to believe that the
petitioner may... be able to demonstra;te that he... is therefore entitled to relief ... it is the duty of the
court to provide the necessary faciliti~s and procedures for an adequate inquiry"; Raines v. United
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States (423 f.   J    526, 529-30 (4th Cir., J70)) - "It may instead be perfectly approprlate ...for the district
court to procee~ by requiring that the (.ecord be expanded to include letters, documentary evidence
and ... affidavits" j

Legal precedent! coupled with Rule 7(c),. ules Governing Section 2255 Proceedings, strongly suggest the
disallowance of r"Y July 5, 2018 letter wquld be an abuse of discretion.
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I thank the Court for its consideration.      ·
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Respectfully su~mitted,
/s/ James Tagliaferri
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James Tagliafer~i, pro se
Defendant-Petitioner
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cc: Jason Cowley, Esq., AUSA
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